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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                       IN THE UNITED STATES DISTRICT COURT                             January 07, 2016
                                                                                      David J. Bradley, Clerk
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                        §
                                                §
                                                §
                                                §
VS.                                             §     CRIMINAL NO. H-15-437
                                                §
                                                §
MIKE PIEDRA                                     §

                                           ORDER

       Counsel for defendant Piedra filed a motion to withdraw as counsel of record, (Docket Entry

No. 33). The motion is granted. The magistrate judge will appoint new counsel for the defendant

once the necessary financial documents are presented and it is determined that the defendant meets

the required criteria for appointment.

               SIGNED on January 7, 2016, at Houston, Texas.

                                                    ______________________________________
                                                             Lee H. Rosenthal
                                                       United States District Judge
